       Case 1:21-cv-01352-BKS-CFH Document 39 Filed 05/31/22 Page 1 of 1

                           UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF NEW YORK


        ELECTRONIC NOTICE OF CIVIL APPEAL & CLERK’S CERTIFICATION


Dear Clerk of the Court,

       Please take notice that on May 27, 2022 the court received a notice of appeal. This notice
serves to inform you of the pending appeal and provides you with the information needed to
process the appeal.

        I, JOHN M. DOMURAD, CLERK, U.S. District Court for the Northern District of New York,
DO, HEREBY CERTIFY that the foregoing docket entries, with the exception of the documents
listed below, are maintained electronically on the court’s CM/ECF system and constitute the Record
on Appeal in the below listed action.

        The following documents are not available electronically. Please notify the Syracuse Clerk’s
Office if you need any of the following documents:

Docket No.(s):

                                       IN TESTIMONY WHEREOF, I have hereunto set my hand
                                       and caused the Seal of said Court to be hereto affixed at the
                                       City of Utica, New York, this 31st day of May, 2022.




                                       By:      s/ Helen M. Reese
                                                  Deputy Clerk


                                          Case Information

Case Name & Case No.             Donald J. Trump, et al. v. Letitia James
                                 1:21-CV-1352 (BKS/CFH)
Docket No. of Appeal:            38
Documents Appealed:              36 & 37

Fee Status: Paid X                     Due                        Waived (IFP/CJA)
       IFP revoked              Application Attached              IFP pending before USDJ

Counsel:               Retained X      Pro Se

Time Status: Timely X                  Untimely

Motion for Extension of Time:          Granted           Denied

Certificate of Appealability:   Granted         Denied            N/A

State Court Papers are being sent by UPS as of: ___________________________
